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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)          ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                                 UNITED STATES DISTRICT COURT
                                                                                                                    LODGED
                                                         for the                                             CLERK, U.S. DISTRICT COURT


                                                                                      5/4/2023
                                            Central District of California                ib
                                                                                                             5/4/2023
                                                                                                          CENTRAL DISTRICT OF CALIFORNIA
 United States of America,                                                                                               jb
                                                                                                           BY: ____________BB______ DEPUTY




                 v.
 BRIAN MCDONALD,
  aka “SOUTHSIDEOXY,”
                                                                   Case No. 2:23-mj-02216-duty
  aka “REALSOUTHSIDEOXY,”
  aka “JEFEDEMICHOACAN,”
  aka “Malachai Johnson,”
                 Defendant.

                              CRIMINAL COMPLAINT BY TELEPHONE
                             OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

Beginning on a date unknown, and continuing until on or about May 3, 2023, in the county of Los Angeles in

the Central District of California, the defendant violated:

           Code Section                                            Offense Description
           21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A)(vi)              Conspiracy to Distribute Fentanyl


         This criminal complaint is based on these facts:
         Please see attached affidavit.
         _ Continued on the attached sheet.

                                                                                  /s/ Jaclyn N. Casaceli
                                                                                 Complainant’s signature

                                                                        Jaclyn N. Casaceli, DEA Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                5/4/2023
                                                                                      Judge’s signature

 City and state: Los Angeles, California                                    Hon. Alexander F. MacKinnon
                                                                                  Printed name and title



AUSAs: Ian V. Yanniello and Declan T. Conroy
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                                AFFIDAVIT

     I, SA Jaclyn Casaceli, being duly sworn, declare and state

as follows:

                      I.    PURPOSE OF AFFIDAVIT


     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against Brian MCDONALD (“MCDONALD”)

for a violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(A)(vi):

conspiracy to distribute fentanyl.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, a review

of law enforcement databases, and information obtained from

various law enforcement personnel and witnesses.         This affidavit

is intended to show merely that there is sufficient probable

cause for the requested complaint and arrest warrant, and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only, all amounts or sums are

approximate, and all dates and times are on or about those

indicated.
                      II.   BACKGROUND OF AFFIANT


     3.      I am a Special Agent (SA) with the Drug Enforcement

Administration (DEA), United States Department of Justice, and I

am currently assigned to the St. Louis Division Office (SLDO).

I have been employed by the DEA since June 2018, during which

time I have specialized in investigations involving narcotics

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trafficking.   Prior to my assignment with the DEA, I was a

Police Officer with the Cranston, Rhode Island Police Department

for approximately two years and a Police Officer with the

Middletown, Rhode Island Police Department for approximately

three years.

     4.    Upon joining the DEA, I completed 16 weeks of training

in drug investigations and related legal matters at the DEA’s

Training Academy in Quantico, Virginia.        Coursework at the

Training Academy included Drug Identification, Undercover

Techniques, Tactical Training, Interview and Interrogation

Techniques, and Legal Instruction.       Since then, I have received

additional training in Cyber Investigations, Cryptocurrency

tracing and Undercover Techniques.       While at the DEA, I have

also personally participated in multiple narcotics

investigations.

     5.    Through my training and experience, I am familiar with

the way in which narcotic traffickers conduct their business,

including, but not limited to: the types and amounts of drugs

distributed; the types and amounts of profits made; the methods

of importing and distributing controlled substances; the use of

mobile telephones, email accounts, and the Internet to

facilitate their transactions; and the use of numerical codes

and code words to conduct their dealings.

     6.    I have participated in investigations that have led to

the issuance of search warrants involving violations of narcotic

laws. These warrants involved the search of locations including:

residences of targets, their associates and relatives, “stash
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houses” (houses used as drug/money storage locations), storage

facilities, cellular/camera phones, and computers.          Evidence,

searched for, and recovered in these locations has included

controlled substances, records pertaining to the expenditures

and profits realized there from, monetary instruments and

various assets that were purchased with the proceeds of the drug

trafficking.    I have participated in the execution of multiple

federal search warrants.

                    III. SUMMARY OF PROBABLE CAUSE

        7.   MCDONALD is the leader of a multi-year darknet drug

trafficking conspiracy to package and distribute large

quantities of illegal drugs, including fentanyl and cocaine.            As

detailed below, MCDONALD and other co-conspirators used multiple

vendor monikers on darknet marketplaces, including SOUTHSIDEOXY,

REALSOUTHSIDEOXY, and JEFEDEMICHOACAN, to sell hundreds of

thousands of dollars’ worth of fentanyl-laced pills and cocaine

since at least April of 2021.      In one text message from July 23,

2021, MCDONALD advised a co-conspirator (“Co-Conspirator 1”)

that, over the previous 30 days, the drug trafficking operation

had generated $297,000 in revenue, and produced a profit of

$160,000.    That same month, MCDONALD stated that he would pay

Co-Conspirator-1 $10,000 a month for being his "right hand

man."

        8.   The DEA and FBI have conducted multiple controlled


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buys of fentanyl and cocaine from the SOUTHSIDEOXY,

REALSOUTHSIDEOXY, and JEFEDEMICHOACAN dark web vendor accounts.

On May 3, 2023, federal agents executed multiple search

warrants, including a warrant to search MCDONALD’s residence.

Inside MCDONALD’s residence, agents found, inter alia,

approximately 287 grams of suspected counterfeit oxycodone M30

pills, two firearms with fully loaded magazines, several hundred

rounds of ammunition, and other evidence linking MCDONALD to the

darknet drug trafficking scheme.

                  V.    STATEMENT OF PROBABLE CAUSE


     9.    Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

     A. LAW ENFORCEMENT IDENTIFIES SOUTHSIDEOXY, REALSOUTHSIDEOXY,
        AND JEFEDEMICHOACAN AS VENDORS OF ILLICIT DRUGS OPERATING
        ON THE DARK WEB, AND INTERCEPTS PACKAGES FROM EACH SITE

     10.   Beginning in or around July 2021, DEA Cape Girardeau

Resident Office agents and agents from the United States Postal

Inspection Service (“USPIS”) initiated an investigation into the

drug trafficking organization known by the vendor moniker

SOUTHSIDEOXY, which was believed to be selling illicit drugs on

the dark web marketplace “White House Market.”         According to the

vendor profile for SOUTHSIDEOXY on White House Market,

SOUTHSIDEOXY began selling illegal narcotics on the marketplace

in or around April 2021, and included listings for counterfeit
                                    4
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oxycodone M30 pills and cocaine.

        11.   On August 17, 2021, DEA agents made an online purchase

of counterfeit oxycodone M30 pills and cocaine from SOUTHSIDEOXY

via White House Market.        During this transaction, agents first

navigated to the profile page for SOUTHSIDEOXY.            They then

navigated to a listing labeled “96% Pure Coke 7g” and purchased

7 grams of cocaine via this listing.          The purchase price for

this transaction was 1.436231328992 Monero (approximately $370

in United States currency). 1        Agents then navigated to a listing

labeled “Oxy M30 50 Pack” and purchased 50 counterfeit oxycodone

pills from this listing.        The purchase price for this

transaction was 1.203042533374 Monero (approximately $310 in

United States currency).        Agents had the drugs shipped to an

undercover address in Southeast Missouri.

        12.   Agents received the drug parcel from SOUTHSIDEOXY on

or about August 24, 2021.         Located inside the box was one baggie

containing a white, powder-like substance with the marking "7g"

written in black marker, and a second baggie containing blue

pills with the markings "M" on one side and “30” on the reverse

side.     The white, powder-like substance was subsequently



1
  Monero cryptocurrency, being described as a privacy coin, adds layers
of anonymity by using a technology suite to obscure transactions making
it more difficult for law enforcement to trace. Monero is widely used
by dark web marketplaces and vendors as a form of payment for illicit
goods because of its anonymity.

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analyzed and lab tested positive for cocaine.         The blue pills --

which agents suspected to be counterfeit oxycodone M30 pills --

were likewise analyzed and lab tested positive for fentanyl.

     13.    On September 22, 2021, DEA agents purchased 200

counterfeit oxycodone M30 pills from SOUTHSIDEOXY on White House

Market.    The counterfeit oxycodone pills were located inside a

United States Postal Service (“USPS”) small flat rate box

packaged similarly to the first controlled purchase from

SOUTHSIDEOXY.    The suspected counterfeit oxycodone M30 pills lab

tested positive for fentanyl.      The listed return address for

this package was the address of the Pacific Oaks College campus

in Pasadena, California.

     14.    On October 1, 2021, a DEA undercover agent digitally

captured the dark web vendor profile for SOUTHSIDEOXY on White

House Market.    As of October 1, 2021, the SOUTHSIDEOXY

vendor profile indicated that the vendor account had been used

to complete approximately 1,350 sales and had approximately 846

customer reviews.

     15.    That same month, White House Market administrators

announced that they would be shutting down White House Market.

Shortly after the shutdown, in November 2021, agents located a

dark web vendor profile identified by the vendor moniker

“REALSOUTHSIDEOXY” on ToRReZ market, another darknet



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marketplace.      According to ToRReZ Market, REALSOUTHSIDEOXY's

ToRReZ vendor profile was created on November 4, 2021.

        16.   An analysis of the PGP public key 2 identified in

REALSOUTHSIDEOXY's vendor profile revealed that that PGP public

key was the same PGP public key used by SOUTHSIDEOXY's White

House Market vendor profile, leading agents to believe that both

profiles were controlled by the same individual(s).             The PGP

public key for SOUTHSIDEOXY and REALSOUTHSIDEOXY had an

associated email address of fastmoneyboys@protonmail.com. 3

According to ToRReZ Market, REALSOUTHSIDEOXY's ToRReZ vendor

profile was created on November 4, 2021.

        17.   On December 6, 2021, DEA agents made an online

purchase of counterfeit oxycodone M30 pills from

REALSOUTHSIDEOXY on ToRReZ Market.          The counterfeit oxycodone

pills the agents received were located inside a USPS small flat

rate box packaged similarly to the first two controlled


2
 Pretty Good Privacy (“PGP”) keys are a mechanism to encrypt, decrypt,
and sign messages or files using a public and private key pair to ensure
the confidentiality and integrity of data. PGP keys allow for secure
communication between vendors and clients. Public keys are always unique
and contain important metadata that can be extracted, such as names and
emails of the user of the PGP public key. Extracted names and emails
are usually associated with vendor aliases rather than real identities,
but since vendors typically use the same public key across different
sites, their PGP public key provides the strongest automatically detected
indicator in linking multiple aliases to a single vendor.
3
 ProtonMail is an encrypted email platform based in Switzerland. Darknet
drug traffickers often use ProtonMail and other non-U.S.-based
communication platforms to conceal their illegal activities from law
enforcement inside the United States.

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purchases from SOUTHSIDEOXY.      The suspected counterfeit

oxycodone M30 pills agents received lab tested positive for

fentanyl.

     18.     On February 3, 2022, FBI agents made an online

purchase from SOUTHSIDEOXY through the dark web marketplace

Dark0de Market.    In this transactions, FBI agents paid .007648

Bitcoin (approximately $283.25) for 50 counterfeit oxycodone M30

pills.    The drugs agents received were shipped in a USPS express

envelope.     The suspected counterfeit oxycodone M30 pills the FBI

received lab tested positive for fentanyl.

     19.     On February 16, 2022, FBI agents purchased 50

counterfeit oxycodone M30 pills from SOUTHSIDEOXY on Dark0de

Market.     The purchase price for this transaction was .006515

Bitcoin (approximately $283.25).        The suspected counterfeit

oxycodone M30 pills agents received lab tested positive for

fentanyl, Lidocaine and Xylazine.

     20.     On April 8, 2022, UPSIS Kansas City Inspectors

intercepted an Express Mail parcel, with tracking number

9470136109361171270840, and with a return address in Culver

City, California.    After the recipient gave USPIS Inspectors

consent to search the parcel, inspectors located an orange

padded envelope with approximately 800 blue pills, each with

markings consistent with oxycodone M30 pills.         The packaging for

the shipment was consistent with the drug parcels FBI Los

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Angeles agents had received as a result of undercover purchases

from dark web vendor SOUTHSIDEOXY.       On April 27, 2022, DEA

agents interviewed the recipient, who stated that he had

purchased oxycodone M30 pills on two separate occasions from

dark web vendor JEFEDEMICHOACAN, operating on AlphaBay Market.

In addition to the intercepted parcel, the recipient stated that

he had placed and received an order for 100 oxycodone M30 pills

purchased in March 2022.

     21.   On April 21, 2022, DEA Colorado Springs, Colorado

agents executed a search warrant on USPS Express Mail parcel,

with tracking number 9470136109361180585775, and with a return

address in San Fernando, California.       The package contained

approximately 50 blue pills with markings consistent with

oxycodone M30 pills.     That same day, DEA agents conducted an

interview of the intended recipient.       From that interview,

agents learned that the intended recipient had purchased “50 M30

Super Smackers” from dark web vendor JEFEDEMICHOACAN on April 7,

2022 through the AlphaBay dark web marketplace.

     22.   On April 21, 2022, DEA agents located a dark web

vendor profile identified by the vendor moniker JEFEDEMICHOACAN

on the dark web marketplace, AlphaBay Market.         The PGP key

identified in JEFEDEMICHOACAN's AlphaBay vendor profile was

compared to the PGP key used by SOUTHSIDEOXY and

REALSOUTHSIDEOXY's vendor profiles on White House Market, ToRReZ

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Market and Dark0de Reborn.      Agents were able to determine that

JEFEDEMICHOACAN utilized the same PGP key as SOUTHSIDEOXY and

REALSOUTHSIDEOXY, leading agents to believe that all three

profiles were controlled by the same individual(s).          That same

day, agents located a dark web vendor profile identified by the

vendor moniker JEFEDEMICHOACAN on the dark web marketplace,

Versus Market.4    Agents were again able to determine that

JEFEDEMICHOACAN’s Versus Market vendor profile utilized the same

PGP key as SOUTHSIDEOXY and REALSOUTHSIDEOXY.

     23.   On May 16, 2022, Cranston Police Department Detectives

and USPIS Rhode Island Inspectors executed a search warrant on a

USPS Express Mail parcel, with tracking number

9405536109361307937719, with a return address in La Puente,

California. The parcel contained 100 blue pills with markings

consistent with oxycodone M30 pills, and field tested positive

for fentanyl.     The recipient told detectives that he had

purchased the pills from the dark web vendor JEFEDEMICHOACAN,

and that he had previously purchased counterfeit oxycodone pills

from JEFEDEMICHOACAN on three other occasions.




4
  On April 26, 2022, a DEA undercover agent digitally captured the dark
web vendor profile for JEFEDEMICHOACAN on Versus Market. The profile was
created on March 16, 2022 and, as of April 26, 2022, showed 49 completed
sales totaling approximately 2,689 counterfeit Oxycodone pills.

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     B.    LAW ENFORCEMENT LINKS MCDONALD TO THE DRUG CONSPRIACY
     24.   During this investigation, agents searched law

enforcement databases for the username “southsideoxy.”          These

law enforcement databases contain data previously seized by law

enforcement from various dark web marketplaces and websites.

Based on this database search, agents discovered that someone

using the username “SouthSideOxy” was linked to an Xleet.to

account (the “SouthSideOxy Xleet account”). 5 The SouthSideOxy

Xleet user account was created on September 8, 2020 and utilized

the email address fastmoneyboys@protonmail.com -- the same email

address associated with the PGP public key used by the dark web

vendor accounts SOUTHSIDEOXY, REALSOUTHSIDEOXY and

JEFEDEMICHOACAN, leading agents to believe that both the Xleet

user account and dark web vendor profiles were controlled by the

same individual(s).

     25.   On March 2, 2021, at approximately 8:58 p.m. (UTC), a

user login IP address of 76.168.149.173 was captured by Xleet.to

for a user accessing the SouthSideOxy Xleet account.          Through

open source research, agents were able to determine the IP



5
 Xleet.to is a marketplace accessible through the regular Internet (also
known as the clear web). To access the site, individuals must register
with a username and password. The site sells illicit digital goods such
as financial and sensitive credentials that hackers can leverage to carry
out other crimes such as identity theft, credit card fraud, account
takeovers, and more. The site also sells hacked account information from
victims for buyers to use and exploit, allowing threat actors to
impersonate the victim for financial or informational gain.

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address belonged to Charter Communications.        A subpoena return

from Charter Communications showed that the IP address was used

by an account subscribed to “Brian MCDONALD,” with a subscriber

phone number of 818-966-8237 and a service address of 5623

Carlton Way Apartment 305, Los Angeles, California.

     C.    AGENTS OBTAIN A SEARCH WARRANT FOR MCDONALD’S iCLOUD
           ACCOUNT AND FIND EVIDENCE OF DRUG TRAFFICKING AND
           OTHER CRIMES.
     26.   On August 4, 2022, the Honorable Steve Kim, United

States Magistrate Judge, signed a warrant to search the iCloud

(Apple Inc.) account associated with MCDONALD.         See Case No.

2:22-MJ-03051.    In addition to containing substantial evidence

showing that MCDONALD controls the iCloud account, the records

produced by Apple Inc. contained the following:

     a.    Photographs and videos depicting large quantities of

suspected illegal drugs, blank fraudulent prescription pads,

fraudulent prescriptions (along with photo identifications), and

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prescription pill bottles, including the following photographs:




     b.    Photographs of MCDONALD packaging drug shipments with

materials consistent with those in the drug shipments received

by law enforcement officers following the above-described

controlled purchases from SOUTHSIDEOXY, REALSOUTHSIDEOXY, and

//

//

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JEFEDEMICHOACAN, as well as handwritten ledgers depicting order

amounts and customer addresses;




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          c.    Photographs of bank statements, money counters, and

bulk United States currency in shoe boxes, spread out on

surfaces, or held by MCDONALD and co-conspirators;




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     d.    Photographs of multiple firearms with large amounts of

ammunition; and




     e.    Photographs of credit cards in numerous individuals’

names, banking withdrawal receipts, counterfeit identifications

belonging to MCDONALD, and computer screens displaying internet

browser tabs with banking information for third parties believed

to be victims of identity theft.

     27.   Additionally, during my review of the records provided

by Apple Inc., I seized numerous text message conversations with

evidence related to drug trafficking, including:




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     a.    Text message conversations between MCDONALD and

various sources of supply, detailing purchases of thousands of

counterfeit oxycodone pills in exchange for United States

currency and cryptocurrency;

     b.    Text messages between MCDONALD and customers who

purchased illegal drugs from MCDONALD in and around the greater

Los Angeles area;

     c.    Text messages regarding the quantity of drugs being

sold through the dark web vendor accounts operated by MCDONALD,

including text messages between MCDONALD and Co-Conspirator 1

from August 9, 2021 in which Co-Conspirator 1 stated that he was

processing “so many orders” and that “there’s only bout maybe

[a] boat left,”6 and MCDONALD stated “now you see what i go thru”

“every single day” “x10.”

     d.    Text messages with co-conspirators discussing the

labeling, packaging, and shipping of dark web drug orders,

including one conversation, from May 16, 2021, in which MCDONALD

informed Co-Conspirator 1 that he had sold "2 yatchs" -- or

20,000 pills7 –- worth of what agents believe to be counterfeit



6
 Through my training and experience, I believe that a “boat” is a slang
term for 1,000 pills.
7
  Through my training and experience, I believe that a yacht is a slang
term for 10,000 pills, meaning the reference to “2 yatchs” [sic] would
mean that MCDONALD was advising Co-Conspirator 1 that he sold 20,000
counterfeit oxycodone M30 pills within his first two weeks of running
SOUTHSIDEOXY.

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oxycodone M30 pills in the two weeks since he had begun selling

on the "marketplace,” and further stating that he had $42,000 in

his marketplace account that he had yet to withdraw;

     e.     Text messages regarding the large quantities of money

generated by MCDONALD’s fentanyl trafficking operation,

including one text message exchange from July 23, 2021 in which

MCDONALD stated that, over the course of the “last 30 days,” he

had received $297,000 in revenue, and made a “profit” of

$160,000.

     f.     Text messages between MCDONALD and his co-conspirators

regarding payments MCDONALD would make to his co-conspirators,

including one exchange with Co-Conspirator 1 in which MCDONALD

told Co-Conspirator 1 that “as my right hand you’ll get 10k a

month.”

     g.     Text messages regarding the purchase of firearms with

the intention of altering serial numbers;

     h.     Text messages between MCDONALD and co-conspirators

depicting photographs and screenshots of social security numbers

along with names and dates of birth, and photographs of banking

information including online banking usernames and passwords

belonging to various third parties; and

     i.     Text messages between MCDONALD and co-conspirators

discussing bank accounts and credit cards belonging to third

parties who are believed to be fraud victims.

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     28.     Furthermore, during my review of the records provided

by Apple Inc., I seized text documents containing:

     a.      Usernames and passwords for SOUTHSIDEOXY dark web

vendor accounts and websites, including accounts where the

username SOUTHSIDEOXY was used; and

     b.      Usernames and passwords for email accounts, including

fastmoneyboys@protonmail.com and bitcoinnbandit@protonmail.com.

     D. MCDONALD POSSESSES FIREARMS TO PROTECT THE DRUG
        TRAFFICKING BUSINESS

     29.     MCDONALD has possessed and relied on firearms to

protect his drug trafficking business.        In addition to the

evidence described above related to MCDONALD’s possession of

firearms, I seized the following evidence from MCDONALD’s iCloud

account:

             a.   On July 22, 2021, one of MCDONALD’s co-

conspirators, Co-Conspirator 2, sent a text message to MCDONALD

advising that her "Aunt Nanette" had a gun license.          MCDONALD

responded that he wanted “Nanette” to purchase firearms on his

behalf and that he would change the "firepins" and "serials."

             b.   On November 19, 2021, MCDONALD sent a text

message to Co-Conspirator 2 stating that he needed to buy "long

jackets" to "hide" his firearm "cuz i'm rlly not go out without

it...too much shit going on."      MCDONALD further emphasized that

he was a “REAL DRUG DEALER BABY” who could “get anything

anywhere.”



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     E. AGENTS EXECUTE SEARCH WARRANTS ON MAY 3, 2023 AND FIND
        SUSPECTED FENTANYL AND GUNS AT MCDONDALD’S RESIDENCE

     30.     On May 2, 2023, the Honorable Alexander F. MacKinnon,

a United States Magistrate Judge for the Central District of

California, issued multiple search warrants related to this

investigation, including a warrant to search MCDOANLD’s

residence.    (See Case No. 23-MJ-2131.)

     31.     On May 3, 2023, law enforcement officers executed the

search warrants.    During the search of MCDONALD’s residence,

agents found approximately 287 grams of suspected counterfeit

oxycodone M30 pills, two firearms with fully loaded magazines,

several hundred rounds of ammunition, and other evidence that

MCDONALD continued to sell illegal drugs on the darknet,

including drug packaging materials.

                               CONCLUSION

     32.     For all the reasons described above, there is probable

cause to believe that MCDONALD violated 21 U.S.C. §§ 846,

841(a)(1), (b)(1)(A)(vi):      conspiracy to distribute fentanyl.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone this 4th day of May
2023.


HONORABLE ALEXANDER F. MACKINNON
UNITED STATES MAGISTRATE JUDGE




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